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                                             UNITED STATES DISTRICT COURT
                                                   DISTRICT OF NEW JERSEY
  --------------------------------------------------------------------------------------x
    NXIVM CORPORATION, formerly known as EXECUTIVE                                        :
    SUCCESS PROGRAMS, INC. and FIRST PRINCIPLES, INC.,                                    :
                                                                                          :
                                             Plaintiffs,                                  :   Civil Action No. 2:06-cv-01051
                                                                                          :   (KSH/CLW)
                                   - against -                                            :
                                                                                          :
    MORRIS SUTTON, ROCHELLE SUTTON, THE ROSS                                              :
    INSTITUTE, RICK ROSS a/k/a “RICKY” ROSS, STEPHANIE                                    :   Hon. Katharine S. Hayden, U.S.D.J.
    FRANCO, PAUL MARTIN, Ph.D., and WELLSPRING RETREAT, :                                     Hon. Cathy L. Waldor, U.S.M.J.
    INC.,                                                                                 :
                                                                                          :   Motion Day: April 6, 2020
                                             Defendants.                                  :
    ----------------------------------------------------------------------------------- x
    RICK ROSS,                                                                            :   CROSSCLAIM PLAINTIFF
                                                                                          :   INTERFOR, INC.’S BRIEF IN
                                             Counterclaim-Plaintiff,                      :   OPPOSITION TO TOMPKINS
                                                                                          :   MCGUIRE’S MOTION
                                   - against -                                            :   TO WITHDRAW AS COUNSEL
                                                                                          :   AND APPLY FUNDS TO
    KEITH RANIERE, NANCY SALZMAN,                                                         :   OUTSTANDING BILLS
    KRISTIN KEEFFE, INTERFOR, INC.,                                                       :
    JUVAL AVIV, JANE DOE and JOHN DOES 1-10,                                              :
                                                                                          :
                                             Counterclaim-Defendants.                     :
    ----------------------------------------------------------------------------------- x
    INTERFOR, INC. and JUVAL AVIV,                                                        :
                                                                                          :
                                             Crossclaimants,                              :
                                                                                          :
                                   - against -                                            :
                                                                                          :
    NXIVM CORPORATION, KEITH RANIERE,                                                     :
    NANCY SALZMAN and KRISTIN KEEFFE,                                                     :
                                                                                          :
                                             Crossclaim Defendants.                       :
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                 Crossclaim plaintiff Interfor, Inc. (“Interfor”) respectfully submits the following

  memorandum of law in opposition to the motion (D.E. 867) by the law firm Tompkins, McGuire,

  Wachenfeld & Barry, LLP (“Tompkins McGuire”), local counsel for crossclaim defendant

  NXIVM Corporation (“NXIVM”) in the above-referenced action, to withdraw as counsel and to

  apply funds to outstanding bills. Interfor opposes that portion of Tompkins McGuire’s motion

  concerning its request to apply funds to outstanding bills and takes no position on the request for

  permission to withdraw as counsel.

                                   RELEVANT BACKGROUND

                 Following this Court’s August 26, 2019 judgment and order in favor of Interfor

  on its contractual indemnity claim (which did not yet include prejudgment interest and other

  damages) (the “Initial Judgment”), Tompkins McGuire moved on September 13, 2019 for

  authorization to transfer $50,000 held by Tompkins McGuire on NXIVM’s behalf in an IOLTA

  trust account (the “NXIVM Funds”) to the firm’s own account in purported satisfaction of

  unpaid fees (the “First Motion”). (D.E. 847.) Interfor opposed this motion because the NXVIM

  Funds are NXIVM property, and as such are subject to enforcement actions by Interfor in

  satisfaction of the Initial Judgment and any subsequently amended judgment. Interfor also

  opposed the First Motion because the funds appeared to have been transferred for unspecified

  future services while NXIVM was a crossclaim defendant in this case, making the transfer

  subject to recovery as a constructive fraudulent conveyance under New York law.

                 On October 2, 2019, the Court held a telephonic hearing on the First Motion and

  denied it from the bench. A text order to that effect was entered on the docket that same day.

  (D.E. 858.) Subsequently, on March 9, 2020, the Court entered a judgment and order amending

  the Initial Judgment, awarding Interfor $2,774,862.12, consisting of $l,685,357.99 in damages

  and $1,089,504.13 in non-compounding 9% prejudgment interest (the “Amended Judgment”).


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                 Notwithstanding the absence of any circumstances requiring that the Court revisit

  this question, Tompkins McGuire now asks again that the Court authorize transfer of the

  NXIVM Funds to the firm’s own operating account. For the reasons set forth below, Interfor

  respectfully requests that the Court again deny the motion and continue to decline to authorize

  any transfers of NXIVM property to anyone other than Interfor as judgment creditor.

                                            ARGUMENT

                 While the Amended Judgment remains unsatisfied, Tompkins McGuire asks the

  Court to authorize the transfer of the NXIVM Funds to the firm in partial satisfaction of its final

  bill in this matter, for $241,000. (D.E. 867-1 ¶¶ 21-23.) This is identical to a request made by

  Tompkins McGuire in the First Motion, which this Court denied, at a time when the now-

  superseded Initial Judgment was outstanding. (D.E. 847-1 ¶¶ 11-12.) For so long as the

  Amended Judgment remains outstanding, and for the reasons described below, Interfor opposes

  Tompkins McGuire’s request.

                 First, funds held by a firm in an IOLTA trust account, such as the NXIVM Funds,

  are the property of the client, not the attorneys, and are to be held separately from the firm’s own

  operating funds. See N.J. Ct. R. 1:28A-2 (noting that funds placed into an IOLTA trust account

  are the “clients’ funds”). As such, the NXIVM Funds are NXIVM property and will be subject

  to enforcement efforts by Interfor, such as by levy or attachment. 1 See N.J. Ct. R. 6:7-1. The

  Court should not permit transfers of NXIVM property to Tompkins McGuire while there remains

  a federal court judgment in favor of Interfor outstanding against NXIVM. Such an order would




  1
      Pursuant to Fed. R. Civ. P. 62(a), “execution on a judgment and proceedings to enforce it are
      stayed for 30 days after its entry, unless the court orders otherwise.” The Amended
      Judgment was entered on March 9, 2020. The 30-day stay expires on April 8, 2020.

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  expressly undermine the Court’s own Amended Judgment by making its satisfaction that much

  more difficult.

                    Second, according to Tompkins McGuire’s own submission, the NXIVM Funds

  in question were “placed in an IOLTA trust account on March 26, 2008, with the expectation that

  the $50,000 would be applied towards the firm’s final bill in this matter.” (English Decl. [D.E.

  867-1] ¶ 21.) As such, the transfer by NXIVM to Tompkins McGuire bears all the hallmarks of

  a voidable transfer under Section 273-a of the New York Debtor and Creditor Law, 2 which

  provides as follows:

          Every conveyance made without fair consideration when the person making it is a
          defendant in an action for money damages or a judgment in such an action has
          been docketed against him, is fraudulent as to the plaintiff in that action without
          regard to the actual intent of the defendant if, after final judgment for the plaintiff,
          the defendant fails to satisfy the judgment.

  N.Y. DEBT. & CRED. LAW § 273-a (McKinney). Accordingly, to the extent necessary, Interfor

  will have the right to have the conveyance set aside, annulled, or disregarded to satisfy the

  Amended Judgment. Id. § 278.

                    “A plaintiff seeking to prevail on a claim under [Section 273-a] must establish

  three elements: the conveyance was made without fair consideration; at the time of transfer, the

  transferor was a defendant in an action for money damages or a judgment in such action had

  been docketed against him; and a final judgment has been rendered against the transferor that

  remains unsatisfied.” TD Bank, N.A. v. Coppolino, 2010 WL 11626968, at *4 (E.D.N.Y. Sept.

  30, 2010). Each of those elements is met here.




  2
      Interfor has the option of registering its judgment in New York and commencing
      enforcement proceedings in the state where NXIVM is principally located.

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                 Tompkins McGuire’s submission establishes that the transfer was made “without

  fair consideration” because it was a payment for unspecified future legal services. (English Decl.

  [D.E. 867-1] ¶ 21 (noting that NXIVM Funds were transferred to the IOLTA trust account in

  March 2008 to be “applied towards the firm’s final bill in this matter”).) It is well settled under

  New York law that “promises to provide future services are insufficient to serve as adequate

  consideration under New York’s Debtor and Creditor Law.” One Hundred Pearl Ltd. v. Vantage

  Sec., Inc., 887 F. Supp. 636, 640 (S.D.N.Y. 1995) (citing cases); accord HBE Leasing Corp. v.

  Frank, 61 F.3d 1054, 1060 (2d Cir. 1995) (bonds transferred to attorneys to secure payment of

  future legal fees set aside under Section 273-a). Even if it were true that, subsequent to the

  deposit of the NXIVM Funds in the trust account, Tompkins McGuire performed legal services

  for NXIVM and has not since been paid for some portion of those services, it would not change

  the essential character of the $50,000 transfer at the time it was made as one for unspecified

  future legal services. HBE Leasing, 61 F.3d at 1061 (only unpaid fees for services performed

  before the conveyance at issue qualify as “antecedent debt”).

                 Moreover, at the time the NXIVM Funds were deposited in the IOLTA account,

  NXIVM was a crossclaim defendant in this case, and NXIVM has not satisfied the judgment.

  Accordingly, transfer of the NXIVM Funds to Tompkins McGuire’s own account would be a

  voidable transfer pursuant to Section 273-a.

                 In light of the above, Interfor respectfully requests that the Court not involve itself

  in pre-authorizing transfers of client funds to law firms in this case, much less payments that

  might be voidable. The Court can and should continue to decline to authorize the transfer of any

  NXIVM property held in trust by NXIVM’s attorneys as payment for future legal services until

  NXIVM has satisfied the Amended Judgment.


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                                           CONCLUSION

                 For the foregoing reasons, the portion of Tompkins McGuire’s motion concerning

  its request to apply funds to outstanding bills should be denied.

  Dated: Newark, New Jersey
         March 23, 2020

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